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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI

GENERAL ELECTRIC CAPITAL                           )
CORPORATION, a Delaware corporation,               )
                                                   )
                Plaintiff,                         )
v.                                                 ) Case No. 4:10-cv-01559
                                                   )
DTS TRUCK DIVISION COMPANY, a                      )
Missouri corporation, DISTRIBUTION                 )
TRANSPORTATION SERVICES                            )
COMPANY, a Missouri corporation,                   )
CENTERLINE LEASING COMPANY, a                      )
Missouri corporation, and THOMAS J.                )
KOMADINA, SR.,                                     )
                                                   )
                Defendants.                        )


       EMERGENCY VERIFIED MOTION FOR APPOINTMENT OF A RECEIVER

         COMES NOW General Electric Capital Corporation (“GECC”), by its undersigned

counsel, and for its Emergency Verified Motion for Appointment of a Receiver states as follows:

                                            PARTIES

         1.     General Electric Capital Corporation (“GECC”) is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business in the State

of Connecticut.

         2.     Defendant DTS Truck Division Company (“DTS Truck”) is a corporation

organized and existing under the laws of the State of Missouri with its principal place of business

in the State of Missouri. Defendant DTS Truck maintains its place of business at 755 Parr Road,

Wentzville, Missouri 63385.

         3.     Defendant Distribution Transportation Services Company (“DTSC”) is a

corporation organized and existing under the laws of the State of Missouri with its principal



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place of business in the State of Missouri. Defendant DTSC maintains its place of business at

755 Parr Road, Wentzville, Missouri 63385.

        4.      Defendant Centerline Leasing Company (“Centerline”) is a corporation organized

and existing under the laws of the State of Missouri with its principal place of business in the

State of Missouri. Defendant Centerline maintains its place of business at 755 Parr Road,

Wentzville, Missouri 63385.

        5.      Defendant Thomas J. Komadina, Sr. (“Komadina”) is a citizen and resident of the

State of Missouri. Defendant Komadina resides at 756 Grandpas Lane, St. Paul, Missouri 63366.

        6.      DTS Truck and DTSC are engaged in the transportation services business. DTS

Truck operates the trucking business and DTSC serves as a transportation property brokerage

company. Centerline leases tractors and trailers to DTS Truck, DTSC, and other related entities.

The Living Trust of Thomas J. Komadina, Sr. is the sole shareholder of DTS Truck, DTSC and

Centerline.

                           INDEBTEDNESS AND COLLATERAL

        7.      Prior to institution of these proceedings, DTS Truck executed and delivered to

CitiCapital Commercial Corporation (“CCC”), predecessor to GECC, a Transportation Accounts

Financing and Security Agreement, dated as of July 23, 2004, as amended by that certain

Amendment One to Transportation Accounts Financing and Security Agreement, dated

October 17, 2005 and effective as of August 19, 2005, that certain Amendment Two to

Transportation Accounts Financing and Security Agreement, dated September 19, 2007 and

effective as of July 23, 2007, and that certain Amendment Three to Transportation Accounts

Financing and Security Agreement, dated December 30, 2008 and effective as of January 1, 2009

(as further amended, supplemented, restated or otherwise modified from time to time, the “DTS



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Truck Financing Agreement”). The DTS Truck Financing Agreement created a revolving credit

facility for DTS Truck with a maximum advance of $2,000,000.00. A copy of the DTS Truck

Financing Agreement is attached to the Complaint as Exhibit 1.

        8.       Prior to institution of these proceedings, DTSC executed and delivered to CCC a

Transportation Accounts Financing and Security Agreement, dated as of July 23, 2004, as

amended by that certain Amendment One to Transportation Accounts Financing and Security

Agreement, dated October 17, 2005 and effective as of August 19, 2005, that certain Amendment

Two to Transportation Accounts Financing and Security Agreement, dated September 19, 2007

and effective as of July 23, 2007, and that certain Amendment Three to Transportation Accounts

Financing and Security Agreement, dated December 30, 2008 and effective as of January 1, 2009

(as further amended, supplemented, restated or otherwise modified from time to time, the “DTSC

Financing Agreement”). The DTSC Financing Agreement created a revolving credit facility for

DTSC with a maximum advance of $1,000,000.00. A copy of the DTSC Financing Agreement

is attached to the Complaint as Exhibit 4.

        9.       To secure the indebtedness due to GECC by DTS Truck and DTSC under the

DTS Truck Financing Agreement and the DTSC Financing Agreement, DTS Truck and DTSC

granted to GECC a lien and security interest in the following personal property (the

“Collateral”):

                “[A]ll present and future accounts; chattel paper, instruments; general
        intangibles; documents; all assets including, without limitation, inventory,
        equipment of every kind and description; furniture and fixtures; deposit accounts;
        money, investment property; letters of credit; notes; tax refunds and insurance
        proceeds, all as defined in the Uniform Commercial Code and all proceeds
        thereof. There is also included within the term “Collateral” all guarantees, liens
        and security granted to or held by Borrower with respect to an Account or any
        other obligation owing to Borrower.”




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        10.     GECC perfected its security interest in the Collateral by filing a Uniform

Commercial Code financing statement on June 18, 2004 with financing statement no.

20040067025H as to DTS Truck and by filing a Uniform Commercial Code financing statement

on June 16, 2004 with financing statement no. 20040066251H as to DTSC . A copy of the

financing statements and other UCC filings relating to DTS Truck are attached to the Complaint

as Exhibit 2 and a copy of the financing statements and other UCC filings relating to DTSC are

attached to the Complaint as Exhibit 5.

        11.     The obligations of DTS Truck and DTSC to GECC are guaranteed by Centerline

and Thomas J. Komadina, Sr. See Exhibits 6, 7, 9, and 10 attached to the Complaint. In

addition, DTS Truck has guaranteed the obligations of DTSC to GECC and DTSC has

guaranteed the obligations of DTS Truck to GECC. See Exhibits 8 and 11 to the Complaint.

        12.     The DTS Truck Financing Agreement and the DTSC Financing Agreement

provide that all loans to DTS Truck and DTSC are payable on demand at any time and for any

reason with or without the occurrence of an event of default. See Section 2.02 of the DTS Truck

Financing Agreement and the DTSC Financing Agreement.

        13.     A default has occurred under the DTS Truck Financing Agreement and the DTSC

Financing Agreement in that DTS Truck and DTSC have (a) furnished financial statements and

information to GECC which were not true and correct; (b) misrepresented to GECC that all

Accounts are and were bona fide existing obligations of account debtors created by the rendition of

services to the named account debtors and owed in the face amount thereof; (c) misrepresented to

GECC that all Accounts are and were valid, legal, enforceable obligations of the account debtors

thereof; (d) failed to pay to GECC the amount by which the Receivable Loan Balances exceed

eighty-five percent (85%) of the aggregate face amount of Eligible Accounts; and (e) failed to keep



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proper books of account in which full, true and correct entries were made of its transactions in

accordance with GAAP.

         14.      On August 18, 2010, GECC gave a written notice to DTS Truck and DTSC that

they were in default under the terms and conditions of the DTS Truck Financing Agreement and

the DTSC Financing Agreement and made demand for payment. A copy of the written notice is

attached to the Complaint as Exhibit 3.

         15.      As of August 18, 2010, the principal balance due on the DTS Truck Financing

Agreement is $1,664,036.06 and the principal balance due on the DTSC Financing Agreement is

$997,777.36. In addition, DTS Truck and DTSC are indebted to GECC for interest, late charges

and other finance charges, attorneys’ fees and other costs of collection (hereinafter referred to as

the “Indebtedness”).

         16.      Despite GECC’s demand, DTS Truck, DTSC, Centerline and Komadina have

failed to pay the Indebtedness.

                       GROUNDS FOR APPOINTMENT OF A RECEIVER

         17.      Federal law controls the decision of whether a receiver should be appointed.

Midwest Sav. Ass’n v. Riverbend Associates, 724 F.Supp. 661, 662 (CD. Minn. 1989). Though

“there is no precise formula for determining when a receiver may be appointed,” the Eighth

Circuit has delineated a series of factors that the District Court should consider in determining

whether the appointment of a receiver is appropriate. The Eighth Circuit stated that the

following factors should typically guide the District Court’s exercise of discretion:1 (1) The

probability of fraudulent or wrongful conduct on the part of the defendant; see Aviation Supply

Corp. v. R.S.B.I. Aerospace, Inc., 999 F.2d 314, 316-17 (8th Cir. 1993) (a plaintiff need not


1
     A District Court’s decision to appoint a receiver is reviewed for abuse of discretion. Aviation Supply, 999 F.2d
at 317; Consolidated Rail Corp. v. Fore R.R. Co., 861 F.2d 322, 326 (1st Cir. 1988).

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present proof of fraud, but rather, merely the possibility of fraud); see Consolidated Rail, 861

F.2d at 326-27;2 (2) imminent danger that property will be lost or squandered; Aviation Supply,

999 F.2d at 316-17; (3) the inadequacy of legal remedies; id. at 317; Consolidated Rail, 861 F.2d

at 327; (4) the likelihood of appointing the receiver will do more good than harm; Aviation

Supply, 999 F.2d at 317; and (5) the likelihood of a valid claim by the plaintiff. Id. at 316.

         18.      In the present case, defendants are in the transportation services business. DTS

Truck operates the trucking business and employs the truck drivers. DTSC serves as a

transportation property broker. Centerline leases the tractors and trailers to DTS Truck, DTSC

and other related entities. According to a spreadsheet provided to GECC by Centerline,

Centerline owns or leases approximately 140 tractors and 368 trailers. These tractors and trailers

travel across the United States. As a result, at any given time a large portion of the rolling stock

is outside the St. Louis, Missouri, metropolitan area.

         19.      GECC has a security interest in virtually all of the personal property of DTS

Truck and DTSC. The primary collateral securing the obligations to GECC is the accounts

receivable. Under the revolving credit facilities, GECC’s loans to DTS Truck and DTSC are

based upon “Eligible Accounts.” GECC may lend up to 85% of the Eligible Accounts. The

greater the value of the Eligible Accounts, the more GECC can lend, up to the maximum set

forth in the DTS Truck Financing Agreement and the DTSC Financing Agreement.

         20.      GECC can satisfy each of the factors commonly used to determine whether a

receiver should be appointed:

                  a.       The existence of a valid claim. GECC’s claim is based upon a written

agreement which clearly identifies the rights and obligations of the respective parties. There will


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   In a diversity action, such as this one, the appointment of a receiver is governed by federal law and federal
equitable principles. Aviation Supply, 999 F.2d at 316.

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be no dispute in this case that GECC actually funded the loans to DTS Truck and DTSC under

the DTS Truck Financing Agreement and the DTSC Financing Agreement. As a result of the

GECC funding under the DTS Truck Financing Agreement and the DTSC Financing Agreement,

GECC is owed the aggregate principal sum of $2,661,813.42 as of August 18, 2010.

                    b.      Fraudulent conduct on the part of the defendants. According to a written

report made by Tom Komadina, Jr., the President of DTS Truck and DTSC, on August 9, 2010,

the controller of DTS Truck and DTSC admitted a massive fraudulent scheme that included

check kiting, forgery, misrepresentations and fraud. With respect to GECC, the controller

admitted that she used fake invoices, duplicate books and records and other artifices to increase

the Eligible Accounts reported to GECC to enable DTS Truck and DTSC to obtain unwarranted

advances from GECC. As a result of this fraudulent scheme, DTS Truck and DTSC have

borrowed from GECC approximately $1,600,000.00 in excess of the aggregate amount justified

under the DTS Financing Agreement and the DTSC Financing Agreement.

                    c.      Imminent danger that the property will be lost, concealed, injured,

diminished in value or squandered. After discovery of the fraudulent scheme and the over-

advance, DTS Truck and DTSC requested GECC to continue to advance funds for payroll and

fuel.3 GECC advanced funds on August 12, 2010, and on August 19, 2010, while GECC

evaluated the financial condition of DTS Truck and DTSC. GECC is unwilling to continue to

advance funds under the DTS Truck and DTSC revolving credit facilities because of the nature

and extent of the defaults, the likelihood of payment of the Indebtedness, and the failure to agree

with DTS Truck, DTSC, Centerline and Komadina on the terms of a forbearance agreement.

DTS Truck, DTSC and Centerline do not appear to have a strategy to wind-down the businesses.

GECC has been advised by DTS Truck and DTSC that, as soon as GECC’s funding ceases, the
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    Payroll is approximately $90,000.00 per week and fuel is approximately $15,000.00 per day.

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trucks will be parked and the drivers will be laid off. DTS Truck and DTSC must wind-down

their operations in an orderly fashion in order to avoid a scenario where the tractors and trailers

are parked at terminals all over the country full of goods scheduled for delivery. The failure to

deliver these goods in a timely fashion may give the customer a claim for damages against DTS

Truck and DTSC and a basis for an offset against the receivable that is GECC’s collateral. A

shut-down will create significant obstacles to collection of existing accounts receivable and will

likely result in a multitude of claims and lawsuits. Many of these issues can be avoided if a

receiver oversees an orderly wind-down of the business and a liquidation of the assets.

Additionally, an orderly wind-down should enable the receiver to locate all of the tractors and

trailers and bring them to a central point for liquidation or return to the appropriate secured

creditor or lessor.

                d.     Inadequacy of available legal remedies. As soon as the funding for

payroll and fuel ceases, the tractors will stop running and the value of the accounts receivable

will diminish severely. There is no available legal remedy to avoid this result.

                e.     The probability of harm to plaintiff by denial of the appointment would be

greater than the injury to the parties opposing the appointment. There is very little probability of

harm to the defendants. The purpose of the receiver will be to keep and preserve the property of

DTS Truck, DTSC and Centerline. The defendants have already indicated that they will not be

able to fund ongoing operations if GECC does not continue to provide financing. Allowing the

company to wind-down under the guidance of a receiver will not cause any harm to DTS Truck,

DTSC and Centerline. On the other hand, GECC will suffer a serious erosion in its collateral if

the goods in the tractors are not delivered.




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                21.   GECC’s counsel has previously retained Argus Management Corporation

(“Argus”) to evaluate the assets, operations, cash flow, accounting and financial reporting of

DTS Truck and DTSC. Argus provides interim management and advisory services to companies

with significant financial and operational issues. Because of its engagement by GECC’s counsel,

Argus is already familiar with DTS Truck, DTSC and Centerline. Argus is available to assist a

receiver in taking control of the assets of DTS Truck, DTSC and Centerline.

        WHEREFORE, GECC respectfully requests that this Court enter its order appointing a

receiver for the assets of DTS Truck, DTSC, and Centerline, and for such other and further relief

as the Court deems just and equitable.



                                             HUSCH BLACKWELL SANDERS LLP



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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing
instrument was served electronically on this 20th day of August, 2010, on all parties on the
Court’s ECF notice list.




                                                 /s/ Gary L. Vincent




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